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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO


                                                       )
 In re:                                                )   Case No. 20-12377-EEB
                                                       )
 SKLAR EXPLORATION COMPANY, LLC,                       )   Chapter 11
 EIN: XX-XXXXXXX                                       )
                                                       )
                              Debtor.                  )
                                                       )
 In re:                                                )   Case No. 20-12380-EEB
                                                       )
 SKLARCO, LLC,                                         )   Chapter 11
 EIN: XX-XXXXXXX                                       )
                                                       )   Jointly Administered Under Case No.
                              Debtor.                  )   20-12377-EEB

 OBJECTION AND JOINDER OF JJS INTERESTS ESCAMBIA, LLC, JJS INTERESTS
  STEELE KINGS, LLC AND JJS WORKING INTERESTS, LLC TO MOTION FOR
  CLARIFICATION OF ORDERS AND TO AUTHORIZE IMMEDIATE OFFSET OF
                JOINT INTEREST BILLING OBLIGATIONS

               JJS Interests Escambia, LLC, JJS Interests Steele Kings, LLC and JJS Working

 Interests, LLC (collectively, “JJS”), by and through their undersigned counsel, submit this

 joinder and limited objection (the “Objection”) to the Debtors’ Motion for Clarification of

 Orders and to Authorize Immediate Offset of Joint Interest Billing Obligations [Docket No. 551]

 (the “Motion”) filed on September 4, 2020.

               In support of the Objection and Joinder, JJS respectfully sets forth and represents

 as follows:

                                         OBJECTION

               1.      JJS opposes the Debtors’ Motion to the extent it would unfairly prejudice

 JJS’s right to recoup from Debtors amounts owed to JJS under various operating agreements and

 participation agreements (collectively, the “Oil and Gas Agreements”), pursuant to which Sklar
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 Exploration Company, LLC (“SEC”) serves as the operator of oil and gas properties in which

 JJS, among others, owns working interests.

               2.       The equitable remedy of recoupment is available to a creditor when the

 creditor’s and debtor’s claims “arise out of a single integrated transaction” and “are so closely

 intertwined that allowing the debtor to escape its obligations would be inequitable.” See In re

 Beaumont, 586 F.3d 776, 781 (10th Cir. 2009) (citing In re Peterson Distributing, Inc., 82 F.3d

 956, 960 (10th Cir. 1996)). Debtors’ Motion seeks to compel JJS and other working interest

 owners to pay, or otherwise permit SEC to offset with postpetition revenue, postpetition joint

 interest billings (“JIBs”) arising from the very same Oil and Gas Agreements under which JJS is

 still owed prepetition working interest revenue from SEC. JJS has only withheld JIBs owing

 under Oil and Gas Agreements that have corresponding outstanding prepetition revenue held in

 suspense for the benefit of JJS. The claims of Debtors for postpetition JIBs on the one hand

 relating to expenses for wells, and the claims of JJS on the other hand for prepetition unpaid

 revenue relating to the production of the very same wells under the very same Oil and Gas

 Agreements, are closely intertwined and arise from the same transaction.        See, e.g., In re

 Peterson Distributing, Inc., 82 F.3d at 960 (the same transaction requirement is generally

 satisfied where “the debts to be offset arise out of a single, integrated contract or similar

 transaction”) (citing In re Davidovich, 901 F.2d 1533, 1538 (10th Cir, 1990)). Therefore, it

 would be fundamentally unfair and inequitable to permit the Debtors to circumvent the equitable

 and contractual rights of JJS under the Oil and Gas Agreements while at the same time

 compelling JJS and the other working interest holders to comply with their obligations under the

 same Oil and Gas Agreements.




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                3.      Granting the Motion would also permit Debtors to avoid the terms of this

 Court’s Final Order Authorizing Use of Cash Collateral, Granting Adequate Protection, and

 Providing Related Relief [Docket No. 433] (the “Cash Collateral Order”) filed on June 15,

 2020, providing that “[s]ubject to the Budget, SEC and a non-insider working interest owner may

 agree in writing to offset any WIO Revenue due to that interest owner against any payments due

 from that WIO to SEC, including pre- and post-petition amounts due.” Cash Collateral Order,

 Section 2(c). Despite this unambiguous language in the Cash Collateral Order allowing offset of

 pre- and postpetition amounts as agreed among the parties, the Debtors have declined to engage

 in good faith negotiations with JJS to setoff postpetition JIBs against prepetition revenue owed to

 JJS.

                                            JOINDER

                4.      JJS joins the objections of Fant Energy Limited, JF Howell Interests, LP

 and the other working interest owners to the extent not inconsistent with this Objection.

                                         CONCLUSION

                5.      For the reasons set forth herein, JJS respectfully requests that the Court

 deny Debtors’ Motion and grant such other relief as it deems just and proper.




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 Dated:   Houston, Texas
          September 29, 2020

                                   Respectfully Submitted,

                                   WILLKIE FARR & GALLAGHER LLP

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                                         Interests Steele Kings, LLC and JJS Working
                                         Interests, LLC




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                                     Certificate of Service

                I certify that on September 29, 2020, I caused a copy of the foregoing document
 to be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
 District of Colorado.



                                                      /s/ Jennifer J. Hardy
                                                      Jennifer J. Hardy
